
TROY LEE HARMS V STATE OF TEXAS






 	NO. 07-02-0245-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



AUGUST 20, 2002

______________________________



ROBERT JESSE ARREDONDO



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 242ND 
 DISTRICT COURT OF HALE COUNTY;



NO. B13729-0005; HON. ED SELF, PRESIDING

_______________________________



ORDER ON APPELLANT’S MOTION TO DISMISS APPEAL

_______________________________



Before BOYD, C.J., QUINN and REAVIS, JJ.

Robert Jesse Arredondo, appellant, &nbsp;has moved to withdraw his notice of appeal and dismiss the appeal pursuant to Rule 42.2 of the Texas Rules of Appellate Procedure. &nbsp;Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s personal request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

 &nbsp;&nbsp;&nbsp;&nbsp;							Brian Quinn

 &nbsp;&nbsp;	 &nbsp;&nbsp;Justice

 				

 Do not publish. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


